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                       EXHIBITP
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                          Declaration of Kimberly Hoisington

l_ I am currently in custody at Danbury FCI in the low security satellite prison ("FSL")_ My
   Bureau of Prisons ("BOP") Register Number is 11764-082.

2. This declaration supplements the declaration that I provided on April 25, 2020.

3_ On April 24th, the day the woman who bad been vomiting and dry heaving was taken to
   the hospital, one of the other women at FSL got a disciplinary report because she called
   her lawyer about the incident The officer told the rest of us that he would be listening to
   calls and anyone calling their lawyer would also get a disciplinary report

4_ On the afternoon of April 25th everyone at FSL was sent outside except for maybe 40
   people who were going to be quarantined and tested for COVID-19_When we came back
   into the unit those 40 women were in Rec waiting on the testing results_

5. At 9:30pm that same evening everyone except for the 40 people was sent outside again
   for about an hour so that the people who were being quarantined could gather their
   belongings.

6. Mter I came back into the unit my name was called and a nurse was waiting for me_ I
   was told I needed to be tested, and at about 11 pm I was tested and came back negative for
   COVID- 19 _The warden sent me back into the unit

7 _ Among the 40 people being quarantined, 11 people tested positive for COVID-19 _They
    were placed in the visiting room for isolation. The other 30 or so people, who tested
    negative, were placed on cots in the dining hall for quarantine.

8_ The dining hall is where we would eat for mealtimes before our meals started to be
   brought into the dormitory. It is connected to the kitchen. Now we stand in line and have
   the meals handed out to us in the dorm.

9 _ The dining hall has two doors, but one is kept locked. The dining hall has one bathroom
    with one toilet and one sink There is no shower. A trailer that has showers and toilets
    was brought down from Camp for the people in the dining halL

10_The visiting room has three bathrooms. Two have two toilets and two sinks_ The third has
   one toilet, one urinal, and two sinks. When I was there earlier this month there was only
   one shower, which was in the third bathroom. It was a temporary stand-up stall built out
   of two by fours.
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11. In addition to the women in the dormitory, dining hall, and visiting room, there is one
    woman in the library. The library does not have heat and is often so cold you can see
    your breath.

12. There are also two to three women in each education room.

13. On April28t\ around lunchtime we were all sent outside and told to wait in line by the
    back door ofRec. We were brought through the door two at a time, and medical staff
    took our temperature and asked whether we were having symptoms like coughing, sore
    throat, fever, body pains, etc. I said no. I am very weak still but not having any of those
    other symptoms. We were all sent back into the unit.

14. I worry that people in the unit could still be positive and getting other people sick because
    several of the women tested positive for COVID- 19 and were isolated had absolutely no
    symptoms.

15. I have reviewed the information contained in this declaration. I declare under the penalty
    of perjury that the contents of this declaration are true and correct to the best of my
    knowledge. I will sign a hard copy of this declaration at my earliest opportunity.

                                          /s/ Kimberly Hoisington

                                          April 29, 2020
